955 F.2d 42
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James Bruce ROBINSON, Plaintiff-Appellant,v.D.A. GARRAGHTY, Warden;  Levester Thompson, Chief Physician;Dr. Frye, Chief Physician of All Departments ofCorrection, Defendants-Appellees,andMrs. Shelton, Head Nurse, Defendant.
    No. 91-7346.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 3, 1992.Decided Feb. 14, 1992.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.   J. Calvitt Clarke, Jr., Senior District Judge.  (CA-89-795-N)
      James Bruce Robinson, appellant pro se.
      Robert Harkness Herring, Jr., Assistant Attorney General, Richmond, Va., John Baldwin Catlett, Jr., Carlyle Randolph Wimbish, III, Sands, Anderson, Marks &amp; Miller, Richmond, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before WIDENER, HAMILTON and LUTTIG, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      James Bruce Robinson appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).   Our review of the record and the district court's opinion discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Robinson v. Garraghty, CA-89-795-N (E.D.Va. Nov. 13, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    